Case 19-10187-jal      Doc 100      Filed 04/20/19       Entered 04/21/19 00:57:56           Page 1 of 2

                 UNITED STATES BANKRUPTCY COURT
                                 Western District of Kentucky
        IN RE:                                                        Case No.:19−10187−jal
        James Medical
        Equipment, Ltd.
                                                                      Chapter: 11
                                  Debtor(s)                           Judge: Joan A. Lloyd




                                              NOTICE
        TO THE DEBTOR(S) AND ALL PARTIES IN INTEREST:

        Please be advised that the following matter has been Entered by the Court on this date:

        Order of the Court to Continue the hearing held on April 18, 2019 on the Motion for
        Order Directing Bank to Honor Pre−Petition Checks. Filed by Debtor James Medical
        Equipment, Ltd. 9, Motion to Use Cash Collateral . Filed by Debtor James Medical
        Equipment, Ltd. 10, Motion to File Document under Seal: Invoices for Applications for
        Compensation of Professionals . Filed by Debtor James Medical Equipment, Ltd. 65 ,
        so ORDERED by /s/ Judge Lloyd. Hearing scheduled for 5/22/2019 at 12:00 PM
        (Central time) at Warren Co. Justice Center, Circuit Courtroom B, (4th Floor) 1001
        Center Street, Bowling Green, KY 42101. ANY PARTY WISHING TO APPEAR BY
        VIDEO CONFERENCE AT ONE OF THE VIDEO CONFERENCE SITES IN THE
        WESTERN DISTRICT MUST CONTACT THE COURT BY PHONE NO LATER
        THAN TWO BUSINESS DAYS PRIOR TO THE SCHEDULED HEARING. cc:
        Parties of record (Goss, K)This Notice of Electronic Filing is the Official ORDER for
        this entry. No document is attached.



        Dated: 4/18/19
                                                             FOR THE COURT
        By: kg                                               Elizabeth H. Parks
        Deputy Clerk                                         Clerk, U.S. Bankruptcy Court
        Case 19-10187-jal            Doc 100         Filed 04/20/19         Entered 04/21/19 00:57:56                Page 2 of 2
                                               United States Bankruptcy Court
                                               Western District of Kentucky
In re:                                                                                                     Case No. 19-10187-jal
James Medical Equipment, Ltd.                                                                              Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0644-1                  User: kgoss                        Page 1 of 1                          Date Rcvd: Apr 18, 2019
                                      Form ID: 266                       Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 20, 2019.
db            #+James Medical Equipment, Ltd.,    950 Campbellsville Bypass,   Campbellsville, KY 42718-7869
aty            +Harlan E Judd, III,    Judd, Satterfield & Associates, PLLC,   869 Broad Avenue,   P O Box 51093,
                 Bowling Green, KY 42102-4393
op             +Michael Dowling,    iHealth Solutions, LLC, d/b/a Advantum H,
                 500 West Jefferson Street, Suite 2310,    Louisville, KY 40202-2881

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 20, 2019                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 18, 2019 at the address(es) listed below:
              Charles R. Merrill    ustpregion08.lo.ecf@usdoj.gov
              David M. Cantor    on behalf of Debtor    James Medical Equipment, Ltd. cantor@derbycitylaw.com,
               swann@derbycitylaw.com;riser@derbycitylaw.com;haddad@derbycitylaw.com
              David M. Cantor    on behalf of Plaintiff    James Medical Equipment, Ltd. cantor@derbycitylaw.com,
               swann@derbycitylaw.com;riser@derbycitylaw.com;haddad@derbycitylaw.com
              Harlan E. Judd, III    on behalf of Attorney Harlan E Judd, III Harlanjuddlaw@gmail.com,
               juddlawsecretary@gmail.com
              Keith J. Larson    on behalf of Plaintiff    James Medical Equipment, Ltd. Larson@derbycitylaw.com,
               swann@derbycitylaw.com;jbrown@derbycitylaw.com;riser@derbycitylaw.com
              Keith J. Larson    on behalf of Debtor    James Medical Equipment, Ltd. Larson@derbycitylaw.com,
               swann@derbycitylaw.com;jbrown@derbycitylaw.com;riser@derbycitylaw.com
              Martin B. Tucker    on behalf of Creditor    Professional Medical Administrators, Inc.
               martin.tucker@dinsmore.com,
               natalie.kissinger@dinsmore.com;rosetta.mitchell@dinsmore.com;sarah.mattingly@dinsmore.com
              Scott A. Bachert    on behalf of Creditor Donald E. James sbachert@kerricklaw.com,
               mwyatt@kerricklaw.com;mcarpenter@kerricklaw.com
              Scott A. Bachert    on behalf of Defendant Donald E. James sbachert@kerricklaw.com,
               mwyatt@kerricklaw.com;mcarpenter@kerricklaw.com
              Stephanie L. McGehee-Shacklette    on behalf of Creditor Douglas Wilhite, Jr.
               smcgehee@berryandmcgehee.com,
               sheila@berryandmcgehee.com;agerughty@berryandmcgehee.com;berryandmcgehee@gmail.com
              Tim Ruppel    on behalf of US Trustee Charles R. Merrill ustpregion08.lo.ecf@usdoj.gov,
               tim.ruppel@usdoj.gov;timmy.ruppel@gmail.com
              William P. Harbison    on behalf of Plaintiff    James Medical Equipment, Ltd.
               harbison@derbycitylaw.com, swann@derbycitylaw.com;riser@derbycitylaw.com
              William P. Harbison    on behalf of Debtor    James Medical Equipment, Ltd.
               harbison@derbycitylaw.com, swann@derbycitylaw.com;riser@derbycitylaw.com
                                                                                              TOTAL: 13
